          Case: 3:17-cv-00360-slc Document #: 52 Filed: 05/30/18 Page 1 of 1
 


                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF WISCONSIN

ANTHONY P. BRZEZINSKI and
ANTHONY P. BRZEZINSKI
REVOCABLE TRUST,                                   JUDGMENT IN A CIVIL CASE

         Plaintiffs,                                    Case No. 17-cv-360-slc

    v.

JACKSON NATIONAL LIFE
INSURANCE COMPANY,

         Defendant.


      This action came before the court for consideration with Magistrate Judge
Stephen L. Crocker presiding. The issues have been considered and a decision has
been rendered.


         IT IS ORDERED AND ADJUDGED that judgment is entered in favor of

defendant Jackson National Life Insurance Company against plaintiffs Anthony P.

Brzezinski and Anthony P. Brzezinski Revocable Trust granting defendant’s motion

for summary judgment and dismissing this case.




         s/ K. Frederickson, Deputy Clerk                  May 30, 2018
         Peter Oppeneer, Clerk of Court                        Date




 
